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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 ADAM AILION, on behalf of himself              :
 and others similarly situated,                 : CIVIL ACTION FILE NO. 1:21-cv-
                                                : 1324-MLB
         Plaintiff,                             :
                                                :
 v.                                             :
                                                :
 BROADLEAF MARKETING & SEO,                     :
 LLC                                            :
                                                :
         Defendant.                             :
                                            /

               STIPULATION OF DISMISSAL WITH PREJUDICE

         The parties submit this Stipulation of Dismissal with prejudice pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii) with each party to bear their own attorney’s fees and

costs.



PLAINTIFF

By:

/s/ Anthony I. Paronich
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        Case 1:21-cv-01324-MLB Document 18 Filed 03/07/22 Page 2 of 2




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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on March 7, 2022, I electronically served the

foregoing on counsel of record for the parties.

                                                  /s/ Anthony I. Paronich
                                                  Anthony I. Paronich




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